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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   NEWARK DIVISION


IN RE: REQUEST FOR JUDICIAL                           CASE NO.
ASSISTANCE FROM THE COURT OF
FIRST INSTANCE IN GENEVA,
SWITZERLAND IN THE MATTER OF
CHARLOTTE BOUVIER D’YVOIRE V.
OLIVER BOUVIER D’YVOIRE
                                              /

                                     [PROPOSED] ORDER

       WHEREAS, the United States, by its counsel, on behalf of the Court of First Instance in

Geneva, Switzerland, in Charlotte Bouvier D'Yvoire v. Oliver Bouvier D'Yvoire, Foreign

Reference Number C/29866/2017, through its Application pursuant to 28 U.S.C. § 1782(a), is

seeking to obtain certain information from (1) E*Trade and (2) UBS, for use in connection with

a judicial proceeding in the Court of First Instance in Geneva, Switzerland; and

       WHEREAS upon review of the Letter of Request issued by the Court of First Instance

in Geneva, Switzerland in Charlotte Bouvier D'Yvoire v. Oliver Bouvier D'Yvoire, seeking

evidence from entities that be found within the jurisdiction of this Court for use in said judicial

proceedings in Switzerland, and the Court being fully informed in the premises.

       NOW THEREFORE, it is ORDERED AND ADJUDGED, pursuant to the authority

contained in Title 28, United States Code Section 1782(a) and Rule 28(a) of the Federal Rules

of Civil Procedure that Katerina Ossenova, Senior Trial Counsel for the U.S. Department of

Justice, hereby is appointed Commissioner of this Court, to obtain by subpoena the requested

evidence from (1) E*Trade and (2) UBS for transmission to the U.S. Department of Justice,

Office of Foreign Litigation, Office of International Judicial Assistance, for transmission to the

Court of First Instance in Geneva, Switzerland in Charlotte Bouvier D'Yvoire v. Oliver Bouvier
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D'Yvoire; and to do all else that may be necessary for the accomplishment of the purpose of this

Order.

         IT IS FURTHER ORDERED that the Office of International Judicial Assistance shall

provide E*Trade in Jersey City, New Jersey and UBS in Weehawken, New Jersey with a copy

of this Order and the accompanying documents.

         This the ____ day of _________________, 2022.




                                             _____________________________________
                                             UNITED STATES DISTRICT JUDGE




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